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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                         Plaintiff,

                    v.

 UNITED TECHNOLOGIES CORPORATION

 and

 ROCKWELL COLLINS, INC.,

                         Defendants.




  UNITED STATES’ EXPLANATION OF CONSENT DECREE PROCEDURES

          The United States submits this short memorandum summarizing the procedures

regarding the Court’s entry of the proposed Final Judgment. This Judgment would settle

this case pursuant to the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16(b)-(h)

(the “APPA”), which applies to civil antitrust cases brought and settled by the United

States.

          1.     Today, the United States has filed a Complaint and, attached to this

Explanation of Consent Decree Procedures, a proposed Final Judgment and a Hold

Separate Stipulation and Order between the parties by which they have agreed that the

Court may enter the proposed Final Judgment after the United States has complied with

the APPA. The United States will also file a Competitive Impact Statement relating to

the proposed Final Judgment.
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       2.       The Hold Separate Stipulation and Order is a document that has been

agreed to by both the United States and the Defendants. The United States and the

Defendants ask that the Court sign this Order, which ensures that the Defendants preserve

competition by complying with the provisions of the proposed Final Judgment and by

maintaining any assets to be divested during the pendency of the proceedings required by

the Tunney Act. See 15 U.S.C. § 16(b)-(h).

       3.       The APPA requires that the United States publish the proposed Final

Judgment and the Competitive Impact Statement in the Federal Register and cause to be

published a summary of the terms of the proposed Final Judgment and the Competitive

Impact Statement in certain newspapers at least sixty (60) days prior to entry of the

proposed Final Judgment. Defendants in this matter have agreed to arrange and bear the

costs for the newspaper notices. The notice will inform members of the public that they

may submit comments about the proposed Final Judgment to the United States

Department of Justice, Antitrust Division, 15 U.S.C. § 16(b)-(c).

       4.      During the sixty-day period, the United States will consider, and at the

close of that period respond to, any comments that it has received, and it will publish the

comments and the United States’ responses in the Federal Register.

       5.      After the expiration of the sixty-day period, the United States will file with

the Court the comments and the United States’ responses, and it may ask the Court to

enter the proposed Final Judgment (unless the United States has decided to withdraw its

consent to entry of the Final Judgment, as permitted by Paragraph IV(A) of the Hold

Separate Stipulation and Order, see 15 U.S.C. § 16(d)).




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       6.      If the United States requests that the Court enter the proposed Final

Judgment after compliance with the APPA, 15 U.S.C. § 16(e)-(f), then the Court may

enter the Final Judgment without a hearing, provided that it concludes that the Final

Judgment is in the public interest.



Dated: October, 1 2018
                                              Respectfully submitted,


                                              _____/s/ Soyoung Choe_______________
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                            CERTIFICATE OF SERVICE

I, Soyoung Choe, hereby certify that on October 1, 2018, I caused a copy of the foregoing
Complaint, Explanation of Consent Decree Procedures, proposed Final Judgment, a Hold
Separate Stipulation and Order to be served on United Technologies Corporation and
Rockwell Collins, Inc. by mailing the document electronically to the duly authorized
legal representatives, as follows:

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